57 F.3d 1070NOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.
    Eugene D. POGORELEC;  Irene Pogorelec;  M. Terrance Simon,Individually and in behalf of those borrowerssimilarly situated, Plaintiffs-Appellants,v.MIDLAND DATA SYSTEMS, INC.;  Midland Loan Services, L.P., alimited partnership;  Resolution TrustCorporation, Defendants-Appellees.
    No. 94-3067.
    United States Court of Appeals, Sixth Circuit.
    June 14, 1995.
    
      1
      Before:  KEITH and BATCHELDER, Circuit Judges;  and ROSEN, District Judge.*
    
    
      2
      This cause having come on to be heard upon the record, the briefs and the oral argument of the parties, and upon due consideration thereof,
    
    
      3
      It is ORDERED that the judgment of the district court be, and it hereby is, affirmed upon the opinion of the district court.
    
    
      
        *
         The Honorable Gerald E. Rosen, United States District Judge for the Eastern District of Michigan, sitting by designation
      
    
    